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[N THE UNITED STATES DISTRICT COURT
FOR THE SGUTHERN DISTRICT OF ALABAMA

 

soUTH;ERN DIvIsIoN
JANE cLARK, §
Piaintiff, ) civil AcTIoN No.
v. §
BED BATH & BEYoND, INC., )
Defendant. )
)
coMPLAINT

I. INTRODUCTION

Plaintil`r`, Jane Clark, files this Title lll, ADA action, pursuant to 42
U.S.C. §12181, ML In Count One of the Complaint, Plaintiff seeks to enjoin
the Defendant to remove architectural barriers ln Count TWo, Plaintiff seeks
to enjoin Defendant to maintain practices, policies, and procedures necessary
to maintain the premises free of architectural barriers both novv and once the
barriers are removed. ln Count Three, Plaintiff seeks to enjoin the Defendant’s
use of the premises to provide full and equal enjoyment of the premises to the
disabled Counts TWo and Three seek independent relief in addition to the
removal of architectural barriers Count Four seeks to enjoin Defendant’s
failure to design and construct the facility to be readily accessible to and usable

by individuals With disabilities

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JURISDICTION. PARTIES. AND ARTICLE lII STANDING

l. Because this is an action for declaratory and injunctive relief pursuant
to Title lll of the Americans with Disabilities Act, 42 U.S.C. §12181,
_et;_s@_q_., (hereinafter referred to as the “ADA”) and its implementing
regulations, this Court is vested with original jurisdiction under 28

U.S.C. §1331 and §1343.

2. Venue is proper in this Court, the United States District Court for the
Southern District of Alabama, pursuant to Title 28, U.S.C. §1391 and
the Local Rules of the United States District Court for the Southern

District of Alabama.

3. Plaintiff, Jane Clark, suffered from multiple sclerosis for the past
sixteen years which has since developed into chronic inflammatory
demyelinating polyneuropathy which is more commonly known as
(“CIDP”). As a result of her aliments, l\/ls. Clark almost exclusively
requires a mobility chair to ambulate, although it is possible for her
to stand for a very short time. Ms. Clark recently suffered a
cerebrovascular accident, which is more commonly known as a
“stroke”, that has affected her motor and sensory functions, resulting

in the episodes of paralysis of her muscle function. T he extent of Ms.

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Clark's physical problems limits her ability to care for herself, perform
manual tasks, walk, stand, lift, bend, and work, all of which are major
life activities pursuant to 42 U.S.C. § 12102 (2) (A). l\/ls. Clark is,
accordingly, disabled pursuant to the Americans with Disabilities
Act, in that she suffers a physical impairment substantially limiting
one or more major life activities 42 U.S.C. § 12102; See also, 28

C.F.R. § 36.104.

. Defendant, Bed Bath & Beyond, lnc., (hereinafter “BB&B”), is a
corporation that is both registered to conduct business and is
conducting business within the State of Alabama sufficient to create
both general and specific in personam jurisdiction Upon information
and belief, Bed Bath & Beyond, lnc., “operates” and “leases” the Bed
Bath & Beyond store located at 38()0 Gulf Shores Parkway, Gulf
Shores, Alabama. 42 U.S.C. § 12182. T he BB&B store is a commercial
facility in that the unit is intended for nonresidential use and affects
commerce 42 U.S.C. § l2lSl(2)((A). Moreover, the store provides a
seamless shopping experience that makes a house a home with its
wide assortment of home furnishings which includes but is not
limited to bed linens and related items, bath items and kitchen

textiles, kitchen and tabletop items, fine tabletop, basic housewares,

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general home furnishings, and consumables, all at the right value to
the public, which qualifies the BB&B store as a place of public
accommodation pursuant to 42 U.S.C. § 12181(7).

. All events giving rise to this lawsuit occurred in the Southern District

of Alabama and the Defendant is a citizen thereof

. Plaintiff, lane Clark, is a resident of Foley. She enjoys going out into
the public to shop, eat, and socialize. l\/ls. Clark regularly visits BB&B
to shop for household necessities and other goods. Ms. Clark intends
to continue going to BB&B for its seamless shopping experience that
makes a house a home with its wide assortment of horne furnishings
which includes but is not limited to bed linens and related items, bath
items and kitchen textiles, kitchen and tabletop items, fine tabletop,
basic housewares, general home furnishings, and consumables, all at
the right value. l\/ls. Clark will return not only to shop at BB&B, but
also to confirm compliance with the ADA by BB&B. l\/ls. Clark really
wants this store fixed and will check on it until it is; then when it is
fixed, she will continue going there to shop and also because the store
has finally done what it is supposed to. Ms. Clark does not know
exactly when she will go back to BB&B, because she has not planned

out every shopping trip for the rest of her life. Such specific planning

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is not necessary to invoke the ADA. See, e.g. Parr V. L & L Drive Inn
Restaurant 96 F. Supp.2d l065, 1079 (D. Haw 2000) and §eg@
Ric/eev's Restaurant and Lounge, Inc. No. ll-6l766-cn, (S.D. Fla 2012)
(“Specijication as to date and time of return to this public accommodation is
impossible due to the nature of the event Fast food patrons visit such
restaurants at the spur of the moment”.). Nevertheless, MS. Clark
definitely intends to return to BB&B over and over again in the near

future over time.

. Because of the barriers described below in paragraph 19 and
throughout the Complaint, Plaintiff has been denied full and equal

enjoyment of the Defendant’s premises on the basis of her disabilities

. Plaintiff accordingly, has Article lll standing to pursue this case
because (l) she is disabled, pursuant to the statutory and regulatory
definition; (2) the Defendant’s store is a place of public
accommodation, pursuant to the statutory and regulatory definition;
(3) she has suffered a concrete and particularized injury by being
denied access to the store by architectural barriers, by being denied
access by the Defendant’s practices described throughout this
Complaint, and by Defendant’s denial of the use of the store for her

full and equal enjoyment as the able-bodied, as described throughout

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the Complaint, and (4) because of these injuries there exists a genuine

threat of imminent future injury, as described in paragraph l7.

II. PLAINTIFF’S CLAIMS

ADA, Title III

9.

10.

On or about July 26, 1990, Congress enacted Title lll of the
Americans with Disabilities Act (“ADA”), 42 U.S.C. §12181 et._s_e_q_.
Commercial enterprises were provided one and a half years from
enactment of the statute to implement its requirements T he effective
date ofTitle lll ofthe ADA was January 26, 1992. (42 U.S.C. §12181;

20 c.F.R. §36.508 (A); see usa § 36.304).

Pursuant to 42 U.S.C. § 1218l(7) and 28 C.F.R. § 36.104, the
Defendant’s establishment is a place of public accommodation in that
it is a store with seamless shopping experience that makes a house a
home with its wide assortment of home furnishings which includes '
but is not limited to bed linens and related items, bath items and
kitchen textiles, kitchen and tabletop items, fine tabletop, basic
housewares, general home furnishings, and consumables, all at the
right value. Accordingly, it is covered by the ADA and must comply

with the Act.

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COUNT ONE
VIOLATION UF THE AMERICANS WITH DISAB]:LITIES ACT, TITLE I]I
42 U.S.C. § 12182(b)(2)(A)(iv)
(Architectural Barriers)

Defendant’s Existing Facilitv Is Subiect to the 2010 ADA Design Staiidards
for the Portioiis of the Facilitv Addressed in This Comi)laint

11. Plaintiff is informed and believes based on publicly available
information that the BB&B store located at 3800 Gulf Shores
Parkway, Gulf Shores, Alabama, was originally constructed on or
around 2006 with alterations and/ or improvements made to the Bed

Bath & Beyond retail store thereafter

12. The ADA was enacted requiring that facilities constructed prior to
January 26, 1992, are considered an “existing” “facility, such that
those facilities must remove architectural barriers where such
removal is readily achievable 42 U.S.C. § 12182(b)(2)(A)(iv). All
“alterations” made to existing facilities after January 26, 1992, and
all “new construction” after January 26, 1993, must be readily
accessible to and usable by individuals with disabilities, including
individuals Wlio use Wheelchairs. 42 U.S.C. § 12183(a) and (b). 28 C.F.R.
§ 36.402. “Readily accessible to and usable by. . .” is the “new
construction” standard, which requires compliance with the

Department of Justice standards. 42 U.S.C. § 12183(a)(l); 28 C.F.R.

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13.

§ 36.406. The only defense for failing to provide readily accessible
and usable buildings constructed under the “new construction”
standards is if the design and construction of the building to be readily
accessible and usable is “structurally impracticable”. 42 U.S.C. §
12183(a)(1). The “structural impracticability” defense applies onlyin
rare circumstances of extraordinary terrain. 28 C.F.R. § 36.401(c).
“Readily accessible to and usable by. . .” is also the “alterations”
standard 42 U.S.C. § 12183(a)(2). “Alterations” must be made to the
maximum extent feasible 42 U.S.C. § 12183(a)(2); 28 C.F.R. §
36.402. An alteration is a change to a place of public accommodation
or commercial facility that affects or could affect the usability of the

facility or any part thereof 28 C.F.R. § 36.402(b).

New construction and alterations must comply with either the Justice
Department’s 1991 Standards for Accessible Design, or the 2010
Standards for Accessible Design. 28 C.F.R. § 36.406 establishes
whether the 1991 Standards for Accessible Design or 2010 Standards
for Accessible Design apply: New construction and alterations
subject to §§ 36.401 or 36.402 shall comply with the 1991 Standards
if the date when the last application for a building permit or permit

extension is certified to be complete by a State, county, or local

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government is before September 15, 2010, or if no permit is required,
if the start of physical construction or alterations occurs before
September 15, 2010. 28 C.F.R. § 36.406(a)(1). New construction and
alterations subject to §§ 36.401 or 36.402 shall comply either with the
1991 Standards or with the 2010 Standards if the date when the last
application for a building permit or permit extension is certified to be
complete by a State, county, or local government is on or after
September 15, 2010, and before March 15, 2012, or if no permit is
required, if the start of physical construction or alterations occurs on
or after September 15, 2010, and before March 15, 2012. 28 C.F.R. §
36.406(a)(2). New construction and alterations subject to §§ 36.401
or 36.402 shall comply with the 2010 Standards if the date when the
last application for a building permit or permit extension is certified
to be complete by a State, county, or local government is on or after
March 15, 2012, or if no permit is required, if the start of physical
construction or alterations occurs on or after l\/larch 15, 2012. Where
the facility does not comply With the 1991 Standards, the 2010 Standards are
applicable See 28 C.F.R. § 36.406(5)(ii) which states, “Newly
constructed or altered facilities or elements covered by §§ 36.401 or

36.402 that were constructed or altered before March 15, 2012 and

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that do not comply with the 1991 Standards shall, on or after 1\/larch

15, 2012, be made accessible in accordance with the 2010 Standards ”

14. For the architectural barriers at issue in this case, the 2010 Standards

for Accessible Design are applicable

Plaintiff’s Concrete and Particularized Standing to Pursue an Iniunction

15.

16.

The Defendant has discriminated, and continues to discriminate
against Plaintiff, and others who are similarly situated, by denying
full and equal access to, and full and equal enjoyment of goods
services, facilities privileges advantages and/ or accommodations at
the BB&B store in derogation of 42 U.S.C. § 12101 et. seq., and as
prohibited by 42 U.S.C. § 12182 et-seq. As “new construction”, the
building must be readily accessible to and usable by individuals with
disabilities 42 U.S.C. § 12183 (a) and (b). Defendant’s failure to
remove the existing barriers thus violates 42 U.S.C. §

12182(b)(2)(A)(iv), which requires removal of architectural barriers

As described above, prior to the filing of this lawsuit, Plaintiff was
denied full and safe access to all of the benefits, accommodations and
services offered to individuals without disabilities within and about

the Defendant’s facility. Plaintiff s access was inhibited by each of the

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17.

described architectural barriers detailed in this Complaint which
remain at the facility in violation of the ADA. Because of the
foregoing, Plaintiff has suffered an injury-in-fact in precisely the

manner and form that the ADA was enacted to guard against

Plaintiff has definite plans to return to the BB&B store in the future,
as described in paragraph 6. Plaintiff will return to BB&B within the
next few months not only to shop and enjoy the seamless shopping
experience that makes a house a home with its wide assortment of
home furnishings which includes but is not limited to bed linens and
related items bath items and kitchen textiles, kitchen and tabletop
items, fine tabletop, basic housewares, general home furnishings, and
consumables, all at the right value, but also to see if BB&B has
repaired the barriers, and changed its practices and procedures Even
when BB&B is repaired, Plaintiff will continue to go there to shop.
She certainly does not want to stop going when BB&B is repaired and
its practices are modified; that is all the more reason to go. Absent
remedial action by Defendant, Plaintiff will continue to encounter the
architectural barriers, and the discriminatory policies, practices and
procedures described herein and as a result, be discriminated against

by Defendant on the basis of her disabilities T he Eleventh Circuit,

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held in Houston v. Marod Sunermar/eets, 733 F.3d 1323 (l lth Cir. 2013),
when architectural barriers have not been remedied “there is a 100%
likelihood that plaintiff . . will sujj"er the alleged injury again when he returns
to the store.” Due to the definiteness of Plaintiffs future plans to
continue visiting the subject facility, there exists a genuine threat of

imminent future injury.

Architectural Barriers

18.

19.

Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,
the Department of Justice, Office of the Attorney General,

promulgated Federal Regulations to implement the requirements of

the ADA. 28 C.F.R. Part 36.

Plaintiff has been throughout the store, from the entrance to and
throughout the shopping aisles; to the check-out service counters to
the restroom, throughout circulation paths and accessible routes,
service areas, paths of travel, and in particular but not limited to all of
which is more specifically described below. Defendant’s facility
located at 3800 Gulf Shores Parkway, Gulf Shores, Alabama, more
commonly known as “BB&B”, violates the ADA in particular but not

limited to:

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CHECK-OUT SERVICE COUNTERS

a) Bed Bath & Beyond provides a check-out counter for able-bodied
individuals but fails to afford non-able-bodied individuals the
same opportunity to participate in or benefit from, a good,
service facility, privilege advantage or accommodation that is
equal to the experience afforded to individuals without

disabilities including but not limited to the following elements:

A. The check-out counter fails to provide a minimum of
36 inches of clear counter surface for individuals with
disabilities to be able to make a parallel approach to the

counter;

i. T here is not 36 inches of clear counter surface
that is measured a maximum of 36 inches

above the finished floor;

ii. T here is not clear floor space that is at least 48
inches long x 30 inches wide provided
adjacent to the 36~inch minimum length of

counter;

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B. The existing check-out counter fails to provide a

minimum of 30 inches of clear counter surface for

individuals with disabilities to be able to make a

forward approach to the counter;

ii.

iii.

There is not 30 inches of clear counter surface
that is measured a maximum of 36 inches
above the finished floor positioned for a

forward approach;

There is no knee and toe clearance provided
under the 30 inches of clear counter surface
that is measured a maximum of 36 inches
above the finished floor positioned for a

forward approach;

T here is no clear floor space that is at least 30
inches wide x 48 inches long provided
underneath the 30 inches of clear counter
surface that is measured a maximum of 36
inches above the finished floor positioned for

a forward approach;

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C. There is no ADA accessible portion of the check-out
counter that extends the same depth as the non-

accessible portion of the check-out counter;

D. T here is no ADA accessible check writing surface
provided 28 inches minimum and 34 inches maximum
above the finished floor that allows for the required

knee and toe clearance

E. BB&B provides a point of sale machine to transact
business at the check-out counter for able-bodied
individuals but fails to provide the same level of service
to non-able-bodied individuals by providing a point of

sale machine at an accessible portion of the counter;

F. The current practice at BB&B is to place merchandise

within the required clear counter surface;

G. BB&B fails to maintain the accessible features at the
sales/ service counter that are required to be readily

accessible to and usable by individuals with disabilities

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CUSTON[ER SERVICE COUNTER

b) BB&B provides a customer service counter for able-bodied
individuals but fails to afford non-able-bodied individuals the same
opportunity to participate in or benefit from, a good, service
facility, privilege advantage or accommodation that is equal to the
experience afforded to individuals without disabilities including
but not limited to the following elements

A. The customer service counter fails to provide a
minimum of 36 inches of clear counter surface for
individuals with disabilities to be able to make a parallel

approach to the counter.

i. There is not 36 inches of clear counter surface
that is measured a maximum of 36 inches

above the finished floor;

ii. There is not clear floor space that is at least 48
inches long x 30 inches wide provided
adjacent to the 36-inch minimum length of

counter;

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B. The existing customer service counter fails to provide a

minimum of 30 inches of clear counter surface for

individuals with disabilities to be able to make a

forward approach to the counter;

il

ii.

iii.

There is not 30 inches of clear counter surface
that is measured a maximum of 36 inches
above the finished floor positioned for a

forward approach;

There is no knee and toe clearance provided
under the 30 inches of clear counter surface
that is measured a maximum of 36 inches
above the finished floor positioned for a

forward approach;

There is no clear floor space that is at least 30
inches wide x 48 inches long provided
underneath the 30 inches of clear counter
surface that is measured a maximum of 36
inches above the finished floor positioned for

a forward approach;

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C. There is no ADA accessible portion of the customer
service counter that extends the same depth as the non-

accessible portion of the check-out counter;

D. There is no ADA accessible check writing surface
provided 28 inches minimum and 34 inches maximum
above the finished floor that allows for the required

knee and toe clearance

E. BB&B provides a point of sale machine to transact
business at the customer service counter for able-bodied
individuals but fails to provide the same level of service
to non-able-bodied individuals by providing a point of

sale machine at an accessible portion of the counter;

F. The current practice at BB&B is to place merchandise

within the required clear counter surface

G. The current practice at BB&B is to locate merchandise
display tables within the required clear floor space at

the customer service counter;

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H. BB&B fails to maintain the accessible features at the
customer service counter that are required to be readily

accessible to and usable by individuals with disabilities
ACCESSIBLE ROUTE

c) BB&B provides an accessible route to and throughout the shopping
aisles throughout the store for able-bodied individuals but fails to
provide an ADA accessible route to and throughout the shopping
retail aisles for individuals with disabilities which prohibits
individuals with disabilities from the full and equal opportunity to
access the goods and services at the BB&B store

i. Throughout the accessible route there is merchandise
that is for sale to the public that obstructs the required
36 inches of clear floor space on the purported accessible
route;

ii. The current practice at BB&B is to maintain
merchandise within the required clear floor or ground
space of the purported accessible route

iii. The retail store shopping aisles are positioned and
oriented in a way that outright excludes disabled

individuals from being afforded the opportunity to

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iv.

vi.

maneuver up and down aisled and make turns at the
passing spaces

BB&B fails to have or otherwise fails to enforce its
policies practices or procedures on maintaining in
operable working condition the features of the purported
accessible route to and throughout the store shopping
aisles so that the goods and services are readily
accessible to and usable by individuals with disabilities
BB&B has ineffective policies practices or procedures
that ensures the purported accessible route is readily
accessible to and usable by individuals with disabilities
so that no individual with a disability is excluded,
denied services segregated, or otherwise treated
differently than other individuals without disabilities
BB&B fails to maintain the accessible features of the
purported accessible route so that it is readily accessible

to and usable by individuals with disabilities

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WOMEN’S RESTROOM

d) There is signage for able-bodied individuals designating a

permanent interior space within the “restroom area” as the
l\/len’s/Women’s restroom, however there is no signage
displaying the lnternational Symbol of Accessibility identifying
the interior space within the restroom area as ADA accessible
BB&B provides a toilet compartment for able-bodied individuals
but fails to afford non-able-bodied individuals the same
opportunity to participate in or benefit from a good, service
facility, privilege advantage or accommodation that is equal to
that experience afforded to other individuals without disabilities
which includes but is not limited to the following failures of
Defendant:

i. The purported wheelchair accessible toilet compartment
and its associated elements fail to conform to the ADA
Standards for Accessible Design;

ii. The toilet paper dispenser is not properly located 7
inches minimum and 9 inches maximum in front of the

water closet;

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iii.

iv.

vi.

Vii.

viii.

ix.

The toilet paper dispenser fails to be properly
maintained;
T he toilet compartment fails to measure the required

dimensions of 59 inches deep and 60 inches wide

. BB&B fails to maintain in operable working condition

the accessible features of the water closet’s toilet seat so
that it is readily usable by individuals with disabilities
The side wall grab bar fails to extend the required
distance of 54 inches from the rear wall;

The side wall grab bar fails to be properly located 33~36
inches above the finished floor;

The rear wall grab bar is not properly located 12 inches
on the closed side of the toilet room and 24 inches on
the transfer side;

The rear wall grab bar fails to be properly located 33~36

inches above the finished floor.

f) BB&B provides a lavatory for able-bodied individuals but fails to

afford non-able~bodied individuals the same opportunity to

participate in or benefit from a good, service facility, privilege

advantage or accommodation that is equal to that experience

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afforded to individuals without disabilities which includes but is

not limited to the following failures of Defendant:

i.

ii.

iii.

iv.

vi.

T he soap dispenser requires two hands to operate
and/ or requires tight grasping, pinching and/ or twisting
of the wrist;

The purported ADA accessible lavatory fails to provide
the required knee and toe clearance under the lavatory
for a wheel chair user to be afforded the opportunity to
position for a forward approach;

The lavatory sink fails to provide the required 30 x 48
inches of clear floor space serving the lavatory;

The lavatory sink fails to provide 30x48 inches of clear
floor space at the lavatory that provides adjacent clear
floor space and/ or connects to an accessible route

The current practice at BB&B is to place a disposable
soap dispenser within the toilet room rather than an
accessible soap dispenser;

The soap dispenser exceeds the maximum allowed
unobstructed reach range of 48 inches above the finished

floor;

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20.

21.

22.

vii. BB&B The reflecting surface of the mirror exceeds the
maximum allowed height of 40 inches above the
finished floor;

To date the barriers to access and other violations of the ADA still
exist and have not been remedied or altered in such a way as to
effectuate compliance with the provisions of the ADA.

Plaintiff has been obligated to retain the undersigned counsel for the
filing and prosecution of this action. She is entitled to have her
reasonable attorney’s fees costs and expenses paid by the Defendant

pursuant to 42 U.S.C. §12205.

Pursuant to 42 U.S.C. §12188, this Court is vested with the authority
to grant Plaintiffs injunctive relief, including an Grder to alter the
discriminating facility to make it readily accessible to, and useable by,
individuals with disabilities to the extent required by the ADA, and
closing the facility until the requisite modifications are completed,
and to further order the Defendant to modify its policies practices and
procedures to provide equal use of its facilities services and benefits

to disabled individuals

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COUNT TWO

VIOLATION OF THE AMERICANS WITH DISABILITIES ACT, TITLE III

42 U.S.C. § 12182(b)(2)(A)(ii)
(Practices, procedures and policies denying equal benefits)

ADA Title III Prohibits Other Discrimination in Addition to Architectural Barriers

 

23.

Plaintiff re~alleges paragraphs 1~22 above

24. The ADA, Title lll, provides a private right of action for "any person

25.

who is being subjected to discrimination on the basis of disability in

violation of" Title lll. 42 U.S.C. § 12182(a)(1) (emphasis added).

The ADA, Title lll, specifically makes it unlawful to provide
individuals with disabilities with an “unequal benefit,” and to
relegate individuals with disabilities to a “different or separate”
benefit 42 U.S.C. §§ 12182(b)(l)(A) )(ii)-(iii); 28 C.F.R. § 36.202(b)-
(c). ln other words the disabled must receive equal benefits as the
nondisabled. Further, 28 C.F.R. § 302(b) requires that goods
services and accommodations be provided to individuals with
disabilities in “the most integrated setting appropriate.” 42 U.S.C. §
12182(b)(1)(B); 28 C.F.R. § 36.203(a). Similarly, the Preamble in
addition to recognizing that persons who use wheelchairs and
mobility aids have been forced to sit apart from family and friends

also recognizes that persons who use wheelchairs and mobility aids

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26.

27.

historically have been provided “segregated accommodations”
compared to non-disabled individuals thus relegating persons who
use wheelchairs “to the status of second~class citizens.” W 28
C.F.R. pt. 36, App. B, at 631-633, 651 (2000) (discussion of§§ 36.308,

36.203).

Congress enacted the ADA in light of its findings that “individuals
with disabilities continually encounter various forms of
discrimination, including outright intentional exclusion, the
discriminatory effects of architectural, transportation, and
communication barriers overprotective rules and policies failure to
make modifications to existing facilities and practices exclusionary
qualification standards and criteria, segregation, and relegation to
lesser services programs activities benefits jobs or other

opportunities.” 42 U.S.C. § 12101(a)(5).

To address this broad range of discrimination in the context of public
accommodations Congress enacted ADA, Title lll, which provides
in part: “No individual shall be discriminated against on the basis of
disability in the full and equal enjoyment of the goods services
facilities privileges advantages or accommodations of any place of

public accommodation by any person who owns leases (or leases to),

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28.

or operates a place of public accommodation.” 42 U.S.C. 12182.

By its clear text, ADA, Title lll requires a public accommodation to
provide individuals with disabilities more than simple physical access
Removal of architectural barriers as required by Count Gne of this
Complaint is but one component of compliance with ADA, Title lll.
Congress recognized that “individuals with disabilities continually
encounter various forms of discrimination” including not only
barriers to physical access but also other forms of exclusion and
relegation to lesser services programs activities benefits jobs or
other opportunities 42 U.S.C. 12101(a)(5); see also H.R. Rep. No.
485, Pt. 2, 101st Cong., 2d Sess. 35~36 (1990) (“1ack of physical access
to facilities” was only one of several “major areas of discrimination
that need to be addressed”); H.R. Rep. No. 485, Pt. 3, 10lst Cong.,
2d Sess. 54 (1990) (“lt is not sufficient to only make facilities
accessible and usable this title prohibits as well, discrimination in
the provision of programs and activities conducted by the public

accommodation.”).

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29. For that reason, the Act applies not only to barriers to physical
access to places of public accommodation, but also to any policy,
practice or procedure that operates to deprive or diminish disabled
individuals’ full and equal enjoyment of the privileges and services
offered by the public accommodation to the public. 42 U.S.C. §
12182. Thus, a public accommodation may not have a policy,
practice or procedure that excludes individuals with disabilities from
services 42 U.S.C. § l2l82(b)(2)(A)(ii). The Eleventh Circuit held
in Rendon v. Vallevcrest Prod.. Ltd. 294 F.3d 1279, (11th Cir. 2002)

that:

“A reading of the plain and unambiguous statutory
language at issue reveals that the definition of
discrimination provided in Title 111 covers both
tangible barriers (emphasis added), that is, physical
and architectural barriers that would prevent a disabled
person from entering an accommodation ’s facilities and
accessing its goods, services and privileges see 42
U.S.C. § 12182(b)(2)64)(iv), and intangible barriers
(emphasis added), such as eligibility requirements and
screening rules or discriminatory policies and
procedures that restrict a disabled person's ability to
enjoy the defendant entity’s goods, services and
privileges ”

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Defendant’s Failed Practices and Lack of Policies Are Discriminatorv

30. Pursuant to 42 U.S.C. § 12182(b)(2)(A)(ii) discrimination includes

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“a failure to make reasonable modijications in policies
practices or procedures when such modifications are
necessary to ajford such goods services facilities
privileges advantages or accommodations to
individuals with disabilities unless the entity can
demonstrate that making such modifications would
fundamentally alter the nature of such goods services
facilities privileges advantages or accommodations.”

Accordingly, a place of public accommodation must modify a policy
or practice that has the consequence of, or tends to deny, access to

goods or services to the disabled

As detailed below, Defendant has failed to make reasonable
modifications in its policies practices and procedures that are
necessary to afford its goods services facilities privileges
advantages or accommodations to individuals with restricted
mobility. By failing to take such efforts that may be necessary to
ensure that no individual with a disability is excluded, Defendant
denied services segregated or otherwise treated Plaintiff differently
than other individuals who are not disabled Pursuant to 42 U.S.C. §

12182(b)(2)(A), Defendant has discriminated against Plaintiff.

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33.

34.

Defendant will continue that discrimination forever until enjoined as
Plaintiff requests The discrimination is described more particularly

in the following paragraphs

Defendant either has no policies practices and procedures to remove
architectural barriers or else does not abide by them. The rampant
architectural barriers previously identified in Count One establish
that Defendant has failed to create adopt, and/ or implement ADA
Title 111 compliance policies procedures and practices as to

architectural barriers

Defendant’s use of its store and its practices at the Bed Bath &
Beyond retail store located at 3800 Gulf Shores Parkway, GulfShores
Alabama, literally creates barriers and in so doing deny Plaintiff the

full and equal enjoyment of the store T hose practices include

a) Defendant makeslits check-out counters inaccessible for use
by the disabled by failing to provide either a parallel or a
forward approach to the counters with the required clear
counter surface which means l\/ls. Clark cannot fully and
equally use the counters to transact business in the way the

non-disabled do, because the non-disabled have counters they

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can use to independently transact business and discuss

services with employees at the counters

b) Defendant makes its customer service counters inaccessible

for use by the disabled by failing to provide either a parallel or
a forward approach to the counters with the required clear
counter surface which means l\/ls. Clark cannot fully and
equally use the counters to transact business in the way the
non-disabled do, because the non-disabled have counters they
can use to independently transact business and discuss
services with employees at the counters

Point of sale machines at the check-out counters are located
so as to be inaccessible which means that l\/ls. Clark is forced
to hand her card to an employee to swipe for her, and then
forced to give her PlN number to an employee to type in for
her, which denies 1\/ls. Clark the ability to equally use the point
of sale machines as the non-disabled, who can independently
use the machines to pay for their purchases though she

cannot;

d) Defendant fails to provide an accessible route to and

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throughout the shopping aisles in the store which means that
l\/ls. Clark is forced to struggle and maneuver in every way
possible in order to travel and move throughout the shopping
aisles if she can travel and move throughout them at all.
Accordingly, she cannot fully and equally use the store as the
non-disabled can;

Defendant fails to provide an accessible route to the restroom
by locating boxes and plastic crates within the required clear
floor space on the purported accessible route which means
l\/ls. Clark is forced to struggle and maneuver in any way
possible in order to travel and move throughout the purported
accessible route to get to the toilet room, if she can get to it at
all. Accordingly, she cannot fully and equally use the store as
the non-disabled can;

Defendant fails to provide signage in the restroom area
displaying the lntemational Symbol of Accessibility
informing and directing disabled individuals to an ADA
accessible restroom, which means that BB&B does not even
claim to have an ADA accessible restroom and that Ms. Clark

has to use trial and error to decide if she can use the restroom

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at all, unlike the non-disabled who can freely use the toilet

room;

g) Defendant makes its toilet facilities inaccessible for use by the

disabled by failing to maintain any ADA accessible elements
within the restrooms so that Plaintiff is afforded the
opportunity to independently use the restroom, or clean up, or
move into and throughout the restroom, whereas non-
disabled individuals are able to independently use the

restrooms

h) Defendant makes its customer service counters inaccessible

for use by the disabled by failing to provide either a parallel or
a forward approach to the counters with the required clear
counter surface which means Plaintiffs cannot fully and
equally use the customer service counter to receive “service”
and transact business in the same way the non-disabled do,
because the non-disabled have counters they can use to receive
service

Defendant fails to provide a restroom that is big enough for
the disabled to use whereas Defendant provides a restroom

sufficiently large for the able-bodied;

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j) Defendant uses the accessible counter surfaces for the sale of

merchandise yet provides counter surface for the able~bodied;

k) Defendant’s policies practices and procedures are conducted
without regard to disabled individuals

As the continuing architectural barriers and the failure to provide full

and equal use of the facility establishes Defendant has no policies

practices or procedures or else it has failed to implement them, to

ensure that any removal of architectural barriers is permanent. 42

U.s.c. § izisz(b)(z)(a)(iv) ana (v).

As the continuing architectural barriers and the failure to provide full
and equal use of the facility establishes Defendant’s existing practice
is both in effect and/ or explicitly to remediate ADA Title 111

architectural barriers only upon demand by the disabled

As the continuing architectural barriers and the failure to provide full
and equal use of the facility establishes Defendant has no policies
practices and procedures or else it failed to create implement and
maintain policies and procedures to ensure individuals with
disabilities are able to have the same experience at its store as
individuals without disabilities 42 U.S.C. 12182(b)(l)(A), and in

particular the opportunity to have full and equal access to all of the

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38.

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goods services privileges advantages or accommodations of

BB&B, as described above in detail.

As the continuing architectural barriers and the failure to provide full
and equal use of the facility establishes Defendant has failed to
create implement, and maintain a policy of complying with ADA

building design standards and regulations

To date the Defendant’s discriminating policies practices and/ or
procedures have not been reasonably modified to afford goods
services facilities privileges advantages or other accommodations

to individuals with disabilities

A reasonable modification in the policies practices and procedures
described above will not fundamentally alter the nature of such
goods services facilities privileges advantages and
accommodations The Plaintiff hereby demands that Defendant both
create and adopt a corporate practice and policy that Defendant (l)
will fully comply with Title 111, ADA, and all its implementing
regulations so that architectural barriers identified above are
permanently removed from Defendant’s store consistent with the

ADA; (2) Defendant will provide the disabled, including those with

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mobility limitations full and equal use and enjoyment of the BB&B
store (3) Defendant will modify its practice of making ADA Title 111

architectural barrier remediations only upon demand by the disabled

As pled above Bed Bath Beyond, lnc. “operates” and “leases” the
BB&B Store located at 3800 Gulf Shores Parkway, Gulf Shores
Alabama, and is therefore pursuant to 42 U.S.C. § 12182, responsible
for creating, implementing and maintaining policies practices and

procedures as alleged above

The ADA is over twenty-five (2 5) years old Defendant knows it must
comply with the ADA Title 111. The ADA Title 111 requires
modifications in policies practices and procedures to comply with it,

as plea above in the statute 42 U.s.c. §izisz(b)(z)(A)(ii).

By this Complaint, Plaintiff provides sufficient notice of her demands

for an alteration in Defendant’s policies practices and procedures

Plaintiff has been obligated to retain the undersigned counsel for the
filing and prosecution of this action. She is entitled to have her
reasonable attorney’s fees costs and expenses paid by the Defendant

pursuant to 42 U.S.C. § 12205.

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45 . Pursuant to 42 U.S.C. § 12188 this Court is authorized to enjoin these

illegal policies practices and procedures

COUNT THREE
VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
Denial of Full and Equal Enjoyment
46. Plaintiff re-alleges paragraphs 1-45 above
47. 42 U.S.C. § 12182(a) provides

“No individual shall be discriminated against on the
basis of disability in the full and equal enjoyment of the
goods services facilities privileges advantages or
accommodations of any place of public accommodation
by any person who owns leases ( or leases to), or operates
a place of public accommodation "
48. Congress enacted the ADA upon fmding, among other things that
"society has tended to isolate and segregate individuals with

disabilities" and that such forms for discrimination continue to be a

“serious and pervasive social problem.” 42 U.S.C. § 12101(a)(2).

49. Congress also found that: “individuals with disabilities continually
encounter various forms of discrimination, including outright intentional
exclusion, the discriminatory effects of architectural transportation, and
communication barriers overprotective rules and policies failure to make

modifications to existing facilities and practices exclusionary qualification

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standards and criteria, segregation, and relegation to lesser services programs
activities benefits jobs or other opportunities 42 U.S.C. § 12101(a)(5);
“the nation 's proper goals regarding individuals with disabilities are to assure
equality of opportunity, full participation, independent living, and economic
self-sufficiency for such i'ndividuals;” 42 U.S.C. § 12101(a)(7). Congress
even found that: “ the continuing existence of unfair and unnecessary
discrimination and prejudice denies people with disabilities the opportunity to
compete on an equal basis and to pursue those opportunities for which our free
society is justijiably fhmous and costs the United States billions of dollars in

unnecessary expenses resulting from dependency and nonproductivity. ” 42

U.s.c. § 12101(@1)(8).

ln response to these findings Congress explicitly stated that the
purpose of the ADA is to provide “a clear and comprehensive
national mandate for the elimination of discrimination against
individuals with disabilities” and “clear, strong, consistent,
enforceable standards addressed discrimination against individuals

Wii~h disabilities" 42 U.sc. § i2ioi(b)(i)-(2).

T he ADA provides inter alia, that it is discriminatory to subject an
individual or class of individuals on the basis of a disability “to a

denial of the opportunity of the individual or class to participate in or

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52.

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benefit from the goods services facilities privileges advantages or

accommodations of an entity.” 42 U.S.C. § 12182(a)(i).

T he ADA further provides that it is discriminatory “to afford an
individual or class of individuals on the basis of a disability with
the opportunity to participate in or benefit from a good, service
facility, privilege advantage or accommodation that is not equal to

that afforded to other individuals.” 42 U.S.C. § 12182(a)(ii).

Congress enacted the ADA in light of its findings that “individuals
with disabilities continually encounter various forms of
discrimination, including outright intentional exclusion, the
discriminatory effects of architectural, transportation, and
communication barriers overprotective rules and policies failure to
make modifications to existing facilities and practices exclusionary
qualification standards and criteria, segregation, and relegation to
lesser services programs activities benefits jobs or other
opportunities” 42 U.S.C. 12101(a)(5). Defendant’s acts and
omissions alleged herein are in violation of the ADA, 42 U.S.C. §§

12101, et seq., and the regulations promulgated thereunder.

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54. To address this broad range of discrimination in the context of public

55.

accommodations Congress enacted Title 111, which by its clear text,
requires a public accommodation to provide individuals with
disabilities more than simple physical access Congress recognized
that “individuals with disabilities continually encounter various forms
of discrimination” including not only barriers to physical access but
also other forms of exclusion and relegation to lesser services programs
activities benefits jobs or other opportunities 42 U.S.C. 12101(a)(5); see
also H.R. Rep. No. 485, Pt. 2, 10lst Cong., 2d Sess. 35-36 (1990)
(“lack of physical access to facilities” was only one of several “major
areas of discrimination that need to be addressed”); H.R. Rep. No.
485, Pt. 3, 101st Cong., 2d Sess. 54 (1990) (“lt is not sufficient to only
make facilities accessible and usable this title prohibits as well,
discrimination in the provision of programs and activities conducted

by the public accommodation.”).

For that reason, the Act applies not only to barriers to physical access
to business locations but also to any policy, practice or procedure
that operates to deprive or diminish disabled individuals’ full and equal
enjoyment of the privileges and services offered by the public

accommodation to the public. 42 U.S.C. 12182. Thus a public

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56.

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accommodation may not have a policy, practice or procedure that
excludes individuals with disabilities from services 42 U.S.C. §

i2is2(b)(i)(A)(i).

The keystone for this analysis is Defendant must start by considering
how its facilities are used by non-disabled guests and then take reasonable
steps to provide disabled guests with a like experience Spector v. Norwegian

CruiseLineLtd. 545 U.S. 119, 128-29, 125 S.Ct. 2169, 162 L . E d . 2d

 

97 (2005) See also, Baughman v. Walt Disnev World Comiranv, 685

F.3D 1131, 1135 (9th Cir. 2012).

Plaintiff, lane Clark, was denied full and equal access to BB&B.
Plaintiff specifically and definitely wants to return to the Defendant’s
store to enjoy the Seamless shopping experience that makes a house
a home with its wide assortment of home furnishings which includes
but is not limited to bed linens and related items bath items and
kitchen textiles kitchen and tabletop items fine tabletop, basic
housewares general home furnishings and consumables, all at the
right value More specifically, Plaintiff wants to be afforded the same

level of service that is offered to non-disabled individuals and which

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Defendant has failed to provide to Plaintiff as follows: Defendant
failed to provide an accessible route to and throughout the store and
shopping aisles for Plaintiff, which means that unlike the non-
disabled, Plaintiff is forced to struggle and maneuver in all sorts of
ways to move throughout the store and shopping aisles if she can
make it at all; Defendant failed to provide an accessible route to and
throughout the toilet room area for Plaintiff, which means that unlike
the non-disabled, Plaintiff is forced to struggle and maneuver in every
way possible just to get to the toilet room area independently, if she
can make it at all; Defendant failed to provide an accessible route to
the toilet room for Plaintiff, which means that unlike the non-
disabled, Plaintiff is forced to struggle and maneuver in every way
possible just to get into and out of the toilet room independently, if
she can make it at all; Defendant failed to provide Plaintiff that same
experience that non-disabled individuals have when shopping at
BB&B; Defendant failed to provide Plaintiff the same experience at
its check-out counters throughout its store by failing to provide either
a parallel or a forward approach to the counters with the required
clear counter surface which means Plaintiff cannot fully and equally

use the check-out counters to transact business throughout BB&B in

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the same way the non-disabled do, because the non-disabled have
counters they can use independently to transact business and discuss
services with employees at the counters Defendant failed to provide
Plaintiff the same experience at its toilet compartment room by failing '
to provide a large enough room to be accessible by the disabled in
wheelchairs and further by failing to maintain any ADA accessible
elements within the toilet compartment room so that Plaintiff is not
afforded the opportunity to independently use the restroom, or clean
up, or move into and throughout the restroom, whereas non-disabled
individuals are able to independently use the toilet room; Defendant
failed to maintain the accessible signage of BB&B so that Plaintiff,
unlike the non-disabled, does not even know what route and what
facilities are usable by individuals with disabilities Defendant’s
failure to identify by signage what is accessible and what is not
accessible makes Plaintiff inferior, segregated or otherwise treated
differently, because unlike the non-disabled, Plaintiff has to guess and
speculate and determine by trial and error what facilities she can even
use and all the foregoing failures by Defendant inhibited Plaintiff
from having the same experience that non-disabled individuals have

when shopping at BB&B.

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58.

59.

ln its Preamble to the title 111 regulation, the Departrnent of Justice
recognized that mobility impaired persons including persons in
wheelchairs should have the same opportunities to enjoy the goods
and services and other similar events of public accommodation with
their families and friends just as other non-disabled individuals do.
The DC)J further recognized that providing segregated
accommodations and services relegates persons with disabilities to

the status of second-class citizens 28 C.F.R. pt. 36, App. B, § 36.203.

T he ADA specifically makes it unlawful to provide individuals with
disabilities with an “unequal benefit,” and to relegate individuals
with disabilities to a “different or separate” benefit 42 U.S.C. §§
12182(b)(l)(A)(ii)-(iii); 28 C.F.R. § 36.202(b)-(c). Further, 28 C.F.R. §
302(b) require that goods services and accommodations be provided
to individuals with disabilities in “the most integrated setting
appropriate.” 42 U.S.C. § 12182(b)(1)(13); 28 C.F.R. § 36,203(a).
Similarly, the Preamble in addition to recognizing that persons who
use wheelchairs have been forced to sit apart from family and friends
also recognizes that persons who use wheelchairs historically have
been provided “inferior seating” and “segregated accommodations”

compared to non-disabled individuals thus relegating persons who

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use wheelchairs “to the status of second-class citizens.” See 28 C.F.R.
pt. 36, App. B, at 631-633, 651 (2000) (discussion of §§ 36.308,

36.203).

Thus Defendant’s “use” of the accessible features constitutes
statutory discrimination in violation of the ADA, because Defendant
has segregated and separated the disabled from the non-disabled
individuals “ The goal is to eradicate the invisibility of the handicapped
Separate-but-equal services do not accomplish this central goal and should be
rejected.” H.R. Rep. No. 101-485(111), at 50, 1990 U.S. C. C.A.N at 473. The
ADA provides a “broad mandate” to “eliminate discrimination
against disabled individuals and to integrate those individuals into

the economic and social mainstream American life PGA Tour 1nc. v.

 

Martin, 532 U.S. 661, 675, 121 S.Ct.1879, 149 L.Ed.2d 904 (2001)
(quoting H.R.Rep. No. 101-485, pt. 2, p.50 (1990), reprinted in 1990

US.C.C.A.N. 303, 332).

Defendant discriminated against Plaintiff by denying Plaintiff “full
and equal enjoyment” and use of the goods services facilities
privileges and accommodations of the facilities during each visit
Each incident of deterrence denied Plaintiff an equal “opportunity to

participate in or benefit from the goods services facility, privilege

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62.

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advantage or accommodations” of BB&B.

Defendant’s conduct and Defendant’s unequal treatment to Plaintiff
constitutes continuous violations of the ADA and absent a Court
ordered injunction from doing so, Defendant will continue to treat

Plaintiff and others similarly situated unequally.

Defendant’s failure to maintain the accessible features that are
required to be readily accessible to and usable by individuals with
disabilities constitute continuous discrimination and absent a Court
ordered injunction, Defendant will continue to not maintain the
required accessible features at Defendant’s facility. 28 C.F.R.§

36.211(;1).

Plaintiff has been obligated to retain the undersigned counsel for the
filing and prosecution of this action. She is entitled to have her
reasonable attorney’s fees costs and expenses paid by the Defendant

pursuant to 42 U.S.C. § 12205.

Pursuant to 42 U.S.C. § 12188, this Court is authorized to enjoin

these illegal acts of Defendant

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COUNT FOUR
VIOLATION OF THE AMERICANS WITH DISABILITIES ACT, TITLE ]]I
42 U.S.C. § 12183(a)(1)
(Failure to design and construct facility for ADA compliance)

66. Plaintiff re-alleges paragraphs l ~ 65 above
67. 42 U.S.C. § 12183(a)(l) provides

[Discrimination i'ncludes] a failure to design and construct
facilities for first occupancy later than 30 months after July
26, 1990, that are readily accessible to and usable by
individuals with disabilities except where an entity can
demonstrate that it is structurally impracticable to meet the
requirements of such subsection in accordance with
standards set forth or incorporated by reference in
regulations issued under this subchapter.

68. Congress passed the ADA in part because "historically, society has
tended to isolate and segregate individuals with disabilities and such
forms of discrimination continue to be a serious and pervasive
social problem." 42 U.S.C. § 12101(a)(2). Congress found that this
discrimination included ”segregation and relegation to lesser services
programs activities benefits jobs or other opportunities“ ld. §
12101(a)(5). ln its Preamble to the title 111 re gulation, the Department
of Justice recognized that persons in wheelchairs should have the

same opportunities to enjoy the goods and services and other similar

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69.

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events of a public accommodation with their families and friends just
as other non-disabled individuals do. The DOJ further recognized
that providing segregated accommodations and services relegates
persons with disabilities to the status of second-class citizens 28 C.F.R.

pr. 36, App. B, § 36.203.

To eliminate such segregation Congress enacted the requirement that
facilities be "readily accessible to and usable by individuals with
disabilities". This very requirement is intended to enable persons with
disabilities “to get to, enter and use a facility.” H.R. Rep. No. 101-
485(111), at 499-500 (1990). lt requires "a high degree of convenient
accessibility," L, as well as access to the same services that are
provided to members of the general public. "For new construction
and alterations the purpose is to ensure that the service o]fered to persons

with disabilities is equal to the service ojfered to others." 1d.

As the legislative history makes clear, the ADA is geared to the
future-~ the goal being that, over time access will be the rule rather
than the exception Thus the ADA only requires modest
expenditures to provide access in existing facilities while requiring all
new construction to be accessible H.R. Rep. 485 , Part 3, 10lst Cong., 2d

Sess. 63 (1990).

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71.

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To realize its goal of a fully accessible future Congress required that
all newly constructed facilities be designed and constructed according
to architectural standards set by the Attorney General. 42 U.S.C. §§
12183(a), 12186(b). Those Standards for Accessible Design
("Standards") are incorporated into the Department of lustice's
regulation implementing title 111 of the ADA, 28 C.F.R. Part 36,
Appendix A. The Standards set architectural requirements for newly
constructed buildings that apply to all areas of the facility, from
parking areas interior walkways and entrances common areas
interior stairways and elevators restrooms dressing rooms and

sales/ service areas

Defendant “operates” and “leases” the BB&B l-lome Goods store and
is directly involved in the designing and/ or construction of its store

in this litigation for first occupancy after January 1993.

Defendant was and is required to design and construct the BB&B
store to be “readily accessible to and usable by individuals with
disabilities" Defendant violated the statute by failing to design and
construct its retail store to be readily accessible to and usable by
individuals with disabilities including individuals who use

wheelchairs Defendant further violated the statute by failing to

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74.

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77.

design and construct its store in compliance with the ADA during

planned alterations as described throughout this Complaint

According to Defendant’s own publicly available information,
Defendant chose to design its store in a way that is not ADA Title 111
compliant whatsoever Defendant literally strategically locates
merchandise throughout its store without any regard to the disabled
Defendant’s systematic design of its store fails to afford disabled
individuals the same shopping experience that is afforded to

individuals without disabilities
To date the Defendant’s discriminating actions continue

Plaintiff has been obligated to retain the undersigned counsel for the
filing and prosecution of this action, She is entitled to have her
reasonable attorney’s fees costs and expenses paid by the Defendant

pursuant to 42 U.S.C. § 12205.

Pursuant to 42 U.S.C. § 12188 this Court is authorized to enjoin these

illegal actions by Defendant

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WHEREFORE, premises considered, Jane Clark demands judgment

against the Defendant on Counts One through Four and requests the following

injunctive and declaratory relief:

1.

That the Court declare that the property owned and business operated
by the Defendant as well as all Defendant’s illegal actions described
herein violate the Americans with Disabilities Act, as more

particularly described above

T hat the Court enter an order enjoining the Defendant to alter the
facility to make it accessible to and usable by individuals with
disabilities to the full extent required by Title 111 of the ADA, to
comply with 42 U.S.C. § l2l82(b)(2)(A)(iv) and their implementing

regulations as stated in Count One;

That the Court enter an order, in accordance with Count Two,
directing the Defendant to modify its policies practices and
procedures both to remedy the numerous ADA violations outlined
above in violation of 42 U.S.C. § 12182(b)(2)(A)(ii), and to
permanently enjoin Defendant to make its business practices

consistent with ADA Title 111 in the future

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8.

That the Court enter an order directing the Defendant to provide
Plaintiff full and equal access both to the BB&B experience and to the
use of the BB&B facility, and further order Defendant to maintain the
required accessible features at the store so that Plaintiff and others
similarly situated are offered the experience that is offered to non-

disabled individuals as stated in Count Three

That the Court enter an Order directing the Defendant to evaluate
and neutralize its policies practices and procedures towards persons
with disabilities for such reasonable time so as to allow them to

undertake and complete corrective procedures

That the Court enjoin Defendant to remediate the BB&B store to the
proper level of accessibility required for the design and construction

of the facility for first occupancy, as stated in Count Four;

That the Court award reasonable attorney’s fees costs (including

expert fees) and other expenses of suit, to Plaintiff; and

That the Court award such other, further, and different relief as it

deems necessary, just, and proper.

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-Hi
Respectfully Submitted, this the [3 Day of April, 2017.

/s/ law E- T~y€¢'¢
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CERTIFICATE OF SERVICE

This is to certify that 1 have this day filed with the Clerk of Court the

aforementioned Complaint for service of process by USPS mail or electronic
- th

mail, postage prepaid and properly addressed this /5 _ day of April, 2017 to

the following:

BED BATH & BEYOND INC.

c/o PRENTlCE HALL CORPORATION SYSTEl\/l lNC
attn.: Registered Agent

150 S PERRY ST

l\/lONTGOl\/IERY, AL 36104

/s/_CM,._.; E. - Ta_z./i,.
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